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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

No. ? /- SARE — WW CT
UNITED STATES OF AMERICA

vs.

JOSE FELIPE SASSO CABALLERO,

 

 

 

Defendant.
/
CRIMINAL COVER SHEET
1. Did this matter originate from a matter pending in the United States Attorney’s Office prior
to April 1, 1999? Yes _x_ No
If yes, was it pending in the Central Region?
___ Yes No
2. Did this matter originate from a matter pending in the United States Attorney's Office prior
to April 1, 2003? Yes _x_ No
3. Did this matter originate from a matter pending in the Narcotics Section (Miami) of the
United States Attorney’s Office prior to May 18, 2003? Yes _x No
4. Did this matter originate from a matter pending in the Northern Region of the United States
Attorney’s Office prior to October 14, 2003? Yes _ x No
5. Did this matter originate from a matter pending in the Central Region of the United States
Attorney’s Office prior to September 1, 2007? Yes _x No
Respectfully submitted,

R. ALEXANDER ACOSTA
UNITED STATES ATTORNEY

BY: Yoon OY \ Apsgod

SHANIEK M. MAYNARD

ASSISTANT UNITED STATES ATTORNEY
Florida Bar Number 0522201

99 N. E. 4th Street

Miami, Florida 33132-2111

TEL (305) 961-9067

FAX (305) 530-7976
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United States District Court

SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA

V. CRIMINAL COMPLAINT

JOSE FELIPE SASSO CABALLERO

case numeer: O7- 4aay- \WCT

I, the undersigned complainant, being duly sworn, state the following is true and correct to the best of my
knowledge and belief. On or about September 29, 2007, at Miami International Airport, in Miami-Dade County,
in the Southern District of Florida, and elsewhere, the defendant, JOSE FELIPE SASSO CABALLERO, having
previously been removed from the United States, attempted to reenter the United States, knowingly and
unlawfully, without the Attorney General or his successor, the Secretary for Homeland Security (Title 6, United
States Code, Sections 202(3), 202(4) and 557) having expressly consented to such alien’s reapplying for
admission to the United States; in violation of Title 8, United States Code, Section 1326(a) and (b)(2).

I further state that | am an Officer with U.S. Customs and Border Protection Enforcement and that this complaint
is based on the following facts:

SEE ATTACHED AFFIDAVIT

 

 

HOLLY/L. McINTOSH CBP ENFORCEMENT OFFICER
U.S. CUSTOMS AND BORDER PROTECTION

Sworn to before me, and subscribed in my presence,

   

Ami, Florida __\
City and State

OCTOBER 1, 2007 at
Date

    

WILLIAM C. TURNOFF

UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer Signature of Judicial Officer

 
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AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Holly L. McIntosh, being duly sworn, depose and state:

1. I am an Enforcement Officer with the United States Customs and Border
Protection (““USCBP”’) at Miami International Airport and have been so employed since 2003. I
am responsible for conducting criminal investigations of the criminal statutes contained in the
Immigration and Nationality Act, and related offenses contained in Titles 8 and 18 of the United
States Code.

2. The facts contained in this affidavit are based upon my own personal knowledge,
as well as facts related to me by other law enforcement officials and employees of USCBP.
Because this affidavit is being submitted for the limited purpose of demonstrating probable cause
to arrest Jose Felipe SASSO CABALLERO for violating Title 8, United States Code, Sections
1326(a) and (b)(2), I have not included each and every fact known to me concerning this
investigation.

3, On or about September 29, 2007, Jose Felipe SASSO CABALLERO, aka “Jose
Felipe SACIO CABALLERO”, hereafter SASSO CABALLERO, arrived at Miami International
Airport on American Airlines Flight AA 918 from Lima, Peru. SASSO CABALLERO is a
citizen of Italy and a national of Peru. SASSO CABALLERO presented an Italian Passport,
#AA0035015, bearing the name and photo of SASSO CABALLERO. He also presented
immigration form I-94W, which he used to apply for admission as a visitor to the United States
under the Visa Waiver Program.

4. SASSO CABALLERO answered “No” to the following questions contained on
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the I-94W:

a. “Have you ever been arrested or convicted for an offense or crime
involving moral turpitude or a violation related to a controlled substance; or been arrested or
convicted for two or more offenses for which the aggregate sentence to confinement was five
years or more; or been a controlled substance trafficker; or are you seeking entry to engage in
criminal or immoral activities;”

b. “Are you seeking to work in the U.S. or have you ever been excluded and
deported; or been previously removed from the United States; or procured or attempted to
procure a visa or entry into the U.S. by fraud or misrepresentation;” and

c. “Have you ever been denied a U.S. visa or entry into the U.S. or had a US.
visa cancelled?”

5. The primary inspector processed SASSO CABALLERO through the Treasury
Enforcement Communications System (“TECS’’) and found him to be a match for a Department
of State lookout. The primary inspector referred SASSO CABALLERO to secondary inspection
for further examination.

6. During secondary inspection, SASSO CABALLERO was fingerprinted and his
identity was confirmed electronically through the Integrated Automated Fingerprint Identification
System (“IAFIS”), the database of the Federal Bureau of Investigation. Secondary inspection
also confirmed that SASSO CABALLERO was previously ordered to be removed from the
United States on October 2, 1984 by a federal judge in Texas due to an aggravated felony
conviction, to wit, drug trafficking, and was in fact subsequently deported back to Peru and

ordered not to return to the United States.
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7. SASSO CABALLERO is an alien, that is, he is not a native, national nor citizen
of the United States, but is a native of Peru and citizen of Italy.

8. A search of the records maintained by the United States Citizenship and
Immigration Services and myself, further reveal that SASSO CABALLERO has never applied
for permission from the United States Attorney General or his successor, the Secretary for
Homeland Security (Title 6, United States Code, Sections 202(3), 202(4), and 557), to return to
the United States after having been removed.

9. Based upon the foregoing, I submit that probable cause exists to believe that, on
or about September 29, 2007, in Miami-Dade County, in the Southern District of Florida, the
defendant, Jose Felipe SASSO CABALLERO, after having previously been removed, did
knowingly attempt to reenter the United States without having received the express consent of
the Attorney General or his successor, the Secretary for Homeland Security (Title 6, United
States Code, Sections 202(3), 202(4) and 557) having expressly consented to such alien’s
reapplying for admission to the United States; in violation of Title 8, United States Code,

Sections 1326(a) and (b)(2).

FURTHER YOUR AFFIANT SAYETH NAUGHT. ot bo -

Holly L. Melntog¢h, CBP Enforcement Officer
United States Customs and Border Protection

 
 

ORN TO SUBSCRIBED before me
this Lb day of October 2007.

 
 
 
 

 

ILLIAM C. TURNOFF
UNITED STATES MAGISTRATE JUDGE
